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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

Pierre Brazeau, et al.                    §
      Plaintiffs,                         §
vs.                                       §     NO: AU:21-CV-00751-DAE
                                          §
Cassava Sciences, Inc., et al.            §
    Defendants.                           §

                             ORDER OF REFERRAL

      This cause is referred to the Honorable Hightower, United States Magistrate
Judge, to meet with all parties in this case to discuss scheduling deadlines and to
enter a scheduling order with dates to control this case.


IT IS SO ORDERED.
DATED: Austin, Texas, February 21, 2024.




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                                              DAVID A. EZRA
                                              SENIOR U.S. DISTRICT JUDGE
